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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION
ELIJAH NAHUM SIMMONS,

      Movant,

v.                                             Case No. CV611-083
                                                         CR6 10-00 1
UNITED STATES,

      Respondent.

                    REPORT AND RECOMMENDATION

      While represented by attorney Matthew K. Hube, Elijah Nahum

Simmons pled guilty to conspiracy to possess with intent to distribute and

to distribute 50 kilograms or more of marijuana in violation of 21 U.S.C. §

846. CR610-001, doc. 151 at 1-2. 1 He received a 240-month sentence

and did not appeal. Id. Moving for 28 U.S.C. § 2255 relief, he claims he

asked Hube to appeal but he refused in light of the fact that in his plea

bargain with the government Simmons had waived his direct and

collateral appeal rights. Doc. 169 at 6, 9, 10, 32 (counsel’s letter); see also


1 The Court is citing only to the criminal docket and using its docketing software’s
pagination, which may not always line up with each paper-document’s pagination.

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doc. 182 at 6.2 Simmons also alleges that Hube provided him with

ineffective assistance of counsel (IAC) by failing to advise him of an

enhanced sentence risk (that a prior cocaine-based conviction could be

used to enhance his sentence) when advising him to plead guilty. Doc.

169 at 16. The government wants to hold Simmons to his double waiver.

Doc. 181. And despite his claimed appeal request, it argues, those

waivers require this Court to deny Simmons relief. Id. at 3-11.

   In pertinent part the plea agreement states:

  To the maximum extent permitted by federal law, the defendant
  voluntarily and expressly waives the right to appeal the conviction
  and sentence and the right to collaterally attack the sentence in any
  post-conviction proceeding, including a § 2255 proceeding, on any
  ground, except that: the defendant may file a direct appeal of his
  sentence if it exceeds the statutory maximum; and the defendant
  may file a direct appeal of his sentence if, by variance or upward
  departure, the sentence is higher than the advisory sentencing
  guideline range as found by the sentencing court.

Doc. 154 at 8.

   Simmons does not dispute the government’s showing that at his

guilty-plea hearing the district judge questioned him to make sure he

understood this waiver. Doc. 181 at 5-7; doc. 182 at 4-5. Indeed, he says


2 The Court GRANTS movant’s Motion to Amend his § 2255 motion. Doc. 172.
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he understood and agreed to it: “There is no question that the district

court discussed and specifically questioned Movant regarding plea waiver.

There is also no dispute that the record unequivocally show[s] Simmons

indicating that he understood plea waiver.” Doc. 169 at 24. He rests his

quest for relief, then, in part on bad advice: “However, Movant's

understanding of what he was told by counsel prior to and after

procedural dialogue between Simmons and Court is what renders

Movant's latter answers regarding plea waiver unenforceable and subjects

plea waivers to not have been knowing, voluntary and intelligently

entered.” Id. Hence, Simmons faults his lawyer for failing to warn him of

the enhancement possibility. Had he been warned, he would not have

pled guilty. Id.

  But he also bases his § 2255 relief request on what he deems to be the

government’s promise -- which he says it later breached -- during

sentencing: “what the Government completely fails to acknowledge, and

to which Mr. Simmons requests this Court to take judicial notice when

granting the requested habeas relief, is that, Mr. Simmons's alleged

waivers came months prior to the occurrence of the subsequent breach -- to

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Movant's unfair surprise, during sentencing.” Doc. 182 at 4 (emphasis

added). 3

    At sentencing, he complains, the district judge enhanced his sentence

with his prior cocaine-based conviction. Doc. 169 at 25-26, 28-29 (also

faulting Hube for failing to investigate and thus show that a prior

conviction was unsupported). This, he insists, constitutes a breach by the

government of its promise to him, as well as ineffective assistance by

Hube, because he was not forewarned of that possibility:

    And because it was as a result of Movant's ineffective assistance of
    counsel claim, that directly affected the validity of Simmons's plea
    itself, when telling Movant that he would be entering plea and
    sentenced for 50 kilograms of marijuana, but Movant was unfairly
    surprised at sentencing to have his sentence increased based upon
    crack cocaine, Movant Simmons’s plea along with its waivers should
    be rendered invalid.

3  In fact the government made no such promise, and Simmons agreed to the
opposite. His plea agreement says:

    The defendant understands and agrees that nothing in this agreement shall
    abrogate the duty and right of the government to bring all sentencing facts to
    the attention of the sentencing court, and the defendant further agrees that the
    government shall not be bound to make any recommendation under this
    agreement if to do so would directly contradict facts relevant to the offense
    conduct or the defendant's prior conduct or criminal history, which first come to
    the attention of the government, or are confirmed as true, only after the signing
    of this agreement.

Doc. 154 at 6.
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Doc. 182 at 13 (emphasis added). Simmons says he would not have pled

guilty had he known of the cocaine-enhancement possibility. Doc. 182 at

4.

      All of this, he concludes, renders his waivers legally unenforceable.

Id. at 5. He therefore wants to be relieved of his waiver and granted §

2255 relief. That means facilitation of a direct appeal, if not subsequent §

2255 review, though he does not state what ultimate end he seeks (i.e.,

whether he wants to go to trial, a new sentencing shorn of the

cocaine-based enhancement, etc.). Id. at 13. He does figure, however,

that without the enhancement he would face only a 151-188 month

sentencing range, not 240 months. Doc. 169 at 28.

I. GOVERNING STANDARDS

      It is settled “that a lawyer who disregards specific instructions from

the defendant to file a notice of appeal acts in a manner that is

professionally unreasonable.” Roe v. Flores-Ortega, 528 U.S. 470, 477

(2000). Indeed, “an attorney’s failure to file an appeal after the

defendant requests him to do so entitles the defendant to an out-of-time

appeal, even without a showing that there would have been any viable
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grounds for appeal.” Montemoino v. United States, 68 F.3d 416, 417

(11th Cir. 1995); Stoner v. United States, 2011 WL 5221890 at * 8 (E.D.

Mo. Nov. 2, 2011).

    Can that Flores-Ortega right be waived? The Fifth Circuit says no:

Counsel must consult with his client and file an appeal if directed, and can

be found ineffective if this duty is violated, even where the client has

signed both direct and collateral attack waivers. United States v. Tapp,

491 F.3d 263, 266 (5th Cir. 2007); accord, United States v. Rivas, 2011 WL

5840212 at * 4 (5th Cir. Nov. 21, 2011). But the Third Circuit has held

that absent a miscarriage of justice, double waivers do bar Flores-Ortega

claims. United States v. Mabry, 536 F.3d 231, 239-44 (3d Cir. 2008) (a

defendant bound by appellate and collateral waivers cannot raise a

collateral challenge based upon a lawyer’s failure to appeal absent a

showing that a miscarriage of justice would occur if the waiver were

enforced; and there is no miscarriage of justice exception absent a

nonfrivolous ground for direct appeal or collateral attack).

  The Seventh Circuit reached the same conclusion as Mabry in Nunez v.

United States, 495 F.3d 544 (2007). Nunez was summarily reversed -- but

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only on grounds that it had read the defendant's waiver of his appellate

rights too broadly. 554 U.S. 911 (2008); post-remand, 546 F.3d 450, 456

(7th Cir. 2008) (warning that a successful movant could lose the benefit of

his plea bargain and thus face a stiffer sentence); see also Blacks her v.

United States, 2011 WL 5854373 at * 3 (E.D. Mich. Oct. 13, 2011

(collecting circuit-split cases); see generally 89 A.L.R.3d 864.

   At least for a direct appeal, this circuit’s law aligns with Tapp: “The

reasoning in Flores-Ortega applies with equal force where, as here, the

defendant has waived many, but not all, of his appellate rights.” Gomez–

Diaz v. United States, 433 F.3d 788, 793 (11th Cir. 2005).

   Finally, even in full-waiver jurisdictions, a waiver will not “be enforced

to bar review of a sentence that exceeds the statutory maximum[,] or

where the defendant correctly contends that the indictment clearly does

not state an offense[,] or where the factual basis for the plea agreement

does not show that the defendant committed an offense.” United States v.

Phillips , 2011 WL 5509155 at * 2 n. 19 (E.D. La. Nov. 10, 2011) (citing

United States v. Hollins, 97 F. App'x 477, 479 (5th Cir. 2004)). 4



4 Simmons claims no such exception here.
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II. ANALYSIS

      If Simmons is entitled to a direct appeal despite his double waiver,

then his § 2255 claims are premature and must be stayed, as it is

reasonably probable that a direct appeal would encompass § 2255 issues.

See 16A F ED. P ROC., L. E D . § 41:515 (Dec. 2011) (“The 28 U.S.C.A. § 2255

motion is premature when filed during the pendency of a direct appeal,

absent extraordinary circumstances.”). The government’s position --

that he is not entitled to appeal given his waiver -- enjoys considerable

legal support:

    An appeal waiver or collateral-attack waiver is valid if a defendant
    enters into it knowingly and voluntarily. See Williams v. United
    States, 396 F.3d 1340, 1341 (11th Cir. 2005); United States v.
    Bushert, 997 F.2d 1343, 1350–55 (11th Cir. 1993). In this circuit,
    such waivers have been enforced consistently according to their
    terms. See United States v. Bascomb, 451 F.3d 1292, 1294 (11th Cir.
    2006) (collecting cases). To enforce such a waiver, the government
    must demonstrate either that (1) the district court specifically
    questioned the defendant about the waiver during the change of plea
    colloquy, or (2) the record clearly shows that the defendant
    otherwise understood the full significance of the waiver.

Warren v. United States, 2011 WL 5593183 at * 5 (M.D. Ala. Oct. 26,

2011). 5 And under the government’s double-waiver theory, the Court

5   Some courts apply a “miscarriage of justice” exception. United States v.
Ruiz-Gonzalez, 427 F. App’x. 22, 25 (1st Cir. 2011) (“However, even if the waiver is
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cannot consider movant’s § 2255 claim that Hube dropped the direct

appeal ball. His only escape is to show that Hube was ineffective in a way

that affects the guilty plea’s validity, and an attorney’s mere negligent

advice in estimating an ultimate sentence is simply not enough. 6 Doc.


knowing and voluntary, we retain discretion not to enforce the waiver if it would
result in a ‘miscarriage of justice.”) (quotes and cite omitted); 9 F ED. P ROC., L. E D . §
22:969 (Dec. 2011) (footnotes omitted) (“An illegal sentence may constitute a
miscarriage of justice, so as to support not enforcing the defendant's waiver in a plea
agreement of the right to appeal.”). No such exception is pled here.

6 “[A]n erroneous sentence estimate by counsel does not render a plea involuntary.
United States v. Himick, 139 F. App'x 227, 228–29 (11th Cir. 2005); United States v.
Orr, 165 F. App'x 623, 624–25 (10th Cir. 2006); United States v. Tealer, No. 01–51262,
2002 WL 31415154 at *1 (5th Cir. Oct. 9, 2002); United States ex rel. LaFay v. Fritz,
455 F.2d 297, 302 (2d Cir. 1972).” Solorio-Reyez v. United States, 2011 WL 3684843 at
* 3 (N.D. Ga. Jul. 14, 2011); see United States v. Munguia–R amirez , 267 F. App'x 894,
898 (11th Cir. 2008) (no error in finding that the movant knowingly and voluntarily
entered into guilty plea due to counsel's incorrect estimation of his ultimate sentence,
where record indicated that he understood that he could not withdraw his plea even if
he received a more severe sentence than he thought); United States v. Kerns, 53 F.
App'x 863, 866 (10th Cir. 2002) (finding claim that because attorney assured the
movant that his sentence would be less than what he ultimately received cannot
constitute a challenge to the voluntariness of his plea, as he stated during the plea
colloquy that no one had made any promises inducing him to enter a guilty plea).

   Here the district judge explained to Simmons, while taking his plea:

   [THE COURT]: Mr. Hube has gone over the guidelines with you. He has the
   information he received from the government. He has had the information that
   you gave to him. And he has probably made some estimate of what the sentence
   would be in this case if the Court accepts your plea. But he can be wrong. He
   can overlook something. Even if his estimate is wrong, you would be still be
   bound by your plea of guilty. Do you understand that, Mr. Simmons?

   A. Yes, sir.

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181 at 8. Since mere negligence advice is all that Simmons has alleged,

the government concludes, as did Mabry, 536 F.3d at 241, that

Flores-Ortega simply does not fit this situation.

      In Gomez–Diaz, 433 F.3d at 793-94, the Eleventh Circuit held that a

§ 2255 petitioner who had entered into a valid appeal waiver did not have

to show a meritorious ground for appeal in order to prevail on a claim that

his counsel was ineffective for failing to file a notice of appeal when

instructed to do so. The government distinguishes Gomez-Diaz on the

ground that only a direct, but not collateral, appeal waiver was in play

there, while both are present here. Doc. 181 at 10. And that case, it

says, did not address whether a collateral attack waiver barred a

defendant, despite Flores-Ortega, from claiming ineffective assistance due

his lawyer’s failure to file a requested appeal. Id.; see also Jones v.

United States, 2011 WL 5554027 at * 6 (S.D. Ga. Oct. 21, 2011)

(“Petitioner's claims that his counsel was ineffective for failing to file an

Doc. 179 at 21; see also Cole v. United States, 2011 WL 4899988 at * 4 (N.D. Ind. Oct.
14, 2011) (rejecting double-waiver § 2255 movant’s “contention that he was wrongly
sentenced as a career offender, or that he would not have pleaded guilty if he had
known that he was going to be designated a career offender . . . . [He] was specifically
informed at his plea hearing that his ultimate sentence could not be calculated until
the Court received his presentence investigation report from the U.S. Probation
Department.”).
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appeal . . . do[e]s not call into question the validity of Petitioner's guilty

plea or waiver.”), adopted, 2011 WL 5554022 (S.D. Ga. Nov. 15, 2011). 7

      The government also acknowledges United States v. Patel, 252 F.

App'x 970 (11th Cir. 2007), which cited Williams v. United States, 396

F.3d 1340, 1342 n. 2 (11th Cir. 2005), in holding that an otherwise valid

appeal and collateral-appeal waiver will not preclude § 2255 claims that

challenge the validity of the defendant's plea or the appeal waiver based

on the ineffective assistance of counsel. Id. at 975. But that showing

7. Jones specially focused on the Gomez-Diaz decision:

   Of note, in reaching its decision in Gomez–Diaz, the Eleventh Circuit
   announced that its opinion was in accord with the Tenth Circuit's treatment of
   the same issue in United States v. Garrett, 402 F.3d 1262 (10th Cir. 2005). The
   Tenth Circuit later clarified its decision in Garrett in addressing the issue
   presented in the instant case, and proceeded to hold that claims of ineffective
   assistance of counsel premised on counsel's failure to file a notice of appeal are
   barred by a valid collateral attack waiver. United States v. Falcon–Sanchez, 416
   F. App'x 728, 730 (10th Cir. 2011) (holding that ineffective assistance claim
   based on counsel's failure to file notice of appeal as instructed by petitioner was
   barred by collateral attack waiver because the claim “[did] not relate to the
   validity of the plea or the waiver”). Thus, the Tenth Circuit's case law
   concerning these issues further illustrates that the Court's determination in the
   instant case is in harmony with the Eleventh Circuit's decision in Gomez–Diaz.

Jones, 2011 WL 5554027 at * 6 n. 5. The Falcon-Sanchez panel further distinguished
Garrett: “In a [ Garrett] footnote, we noted that the defendant's plea agreement also
contained a waiver of his right to collaterally challenge his guilty plea or sentence.
[402 F.3d] at 1266 n. 5. We did not, however, enforce that waiver because (1) the
government did not argue that the waiver barred the defendant's § 2255 motion and
(2) the plain language of the waiver did not address the claim. Id.” Falcon–Sanchez,
416 F. App'x at 731 (emphasis added).
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must go to coercion, fraud, or a similar species of misconduct and not just

attorney negligence such as in miscalculating a sentence exposure. Id. at

974-76; Angarita, 2010 WL 2872737 at * 4. Simmons, the government

emphasizes, is simply not making that kind of showing here. Doc. 181 at

10-11.

     The government thus rests on the principle that “[w]hen a valid

sentence-appeal waiver containing express language waiving the right to

attack a sentence collaterally is entered into knowingly and voluntarily, it

will be enforceable and serve to prevent a movant from collaterally

attacking a sentence on the basis of ineffective assistance of counsel.”

Thompson v. United States, 353 F. App’x 234, 235 (11th Cir. 2009) (citing

Williams, 396 F.3d at 1342). Hence, it insists, Simmons must be held to

his bargain, and other courts have agreed:

  The Court recognizes that a waiver of appeal in the plea agreement
  does not bar a claim that counsel was ineffective for refusing to file
  an appeal despite his client's specific instructions to do so. On a
  motion to vacate sentence under Section 2255, however, the issue is
  whether such a claim can overcome a valid waiver of collateral
  challenges. [A] valid waiver of collateral challenges in the plea
  agreement waives the right to bring a Section 2255 motion except
  for ineffective assistance claims which challenge the validity of the
  plea or the waiver. Defendant's claim that counsel failed to file an
  appeal does not challenge the validity of the plea or waiver.
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United States v. Vi era, 2011 WL 3420842 at *7 (D. Kan. Aug. 4, 2011) (cite

and footnote omitted); see also id. at * 9 (enforcing waiver to negate claim

that attorney failed to file a direct appeal); Jones, 2011 WL 5554027 at * 6;

Jacobs v. United States, 2011 WL 5926191 at * 7 (S.D. Ga. Oct. 28, 2011)

(upholding plea agreement waiver to bar collateral challenge to sentence

enhancement), adopted, 2011 WL 5926856 (S.D. Ga. Nov. 28, 2011). To

that end, no illegal sentence has been shown here, Simmons concedes his

plea was knowing and voluntary, and the record demonstrates that.

      This Court thus would be inclined to find that because “the terms of

the waiver provision are abundantly clear -- no collateral attack is

allowed.” United States v. Graham, 429 F. App’x 783, 790 (10th Cir.

2011); United States v. Frye, 402 F.3d 1123, 1126, 1129 (11th Cir. 2005)

(affirming dismissal of habeas petitioner's claim that district court

erroneously enhanced his sentence where petitioner had knowingly and

voluntarily waived his right to appeal or collaterally attack his sentence in

his plea agreement). Under this reasoning, Simmons would not be

entitled to a Flores-Ortega hearing on whether he sought a direct appeal

and counsel was ineffective for failing to comply, as he waived his right to
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challenge Hube’s competency on that score. And, his government

plea-bargain breach claim would be rejected because it is negated by the

plea agreement itself -- a bargain he concedes he understood.

  But the same district judge who sentenced Simmons here just rejected

the government’s reasoning in a similar case, Roberson v. United States,

CR608-012, doc. 415 (S.D. Ga. Nov. 30, 2011), reported at 2011 WL

6032962. Roberson was sentenced above the Sentencing Guidelines

range following his guilty plea, but his lawyer filed his direct appeal too

late and thus it was lost. Roberson thus was placed in the same legal

position as Simmons -- both movants lost their direct appeals because of

their lawyer, and both were subject to the same double waiver.

     The district judge reasoned that “[t]he language of the plea

agreement . . . forbids Roberson from collaterally attacking the sentence.

[But] Roberson is not attacking his sentence with his § 2255 motion; he is

asserting his right to constitutionally sufficient assistance of counsel

post-sentencing” (i.e., on appeal). Roberson, 2011 WL 6032962 at *2.

The judge then applied Gomez–Diaz, where the defendant waived “the

right to appeal [his] sentence, directly or collaterally, on any ground[,]”

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433 F.3d at 790. That case, he concluded, authorized Roberson to bring

his § 2255 motion even if it fell within the waiver’s language. Roberson,

2011 WL 6032962 at 3. Thus, “the language of the plea agreement

waiver does not apply to Roberson's § 2255 motion, and even if the waiver

were applicable, this circuit's precedent mandates that Roberson be

entitled to a collateral attack.” Id. Because Roberson’s attorney failed

to file a timely appeal, Roberson was entitled to an out-of-time appeal.

Id. at 3-4. 8

    Here the government does not dispute Simmons’s showing that he

asked for, but was denied, his right to appeal. Instead, it stands on the

same waiver just rejected in Roberson. Accordingly, the Court advises

that the same result be reached here that was reached in Roberson:

GRANT Simmons his § 2255 motion, as amended, see supra n. 2, to the

extent he seeks a direct appeal, in which case his remaining § 2255 claims


8 Roberson’s reasoning is supported by Patel’s reasoning, 252 F. App’x at 973-74,
though Patel is not binding and, at bottom, did not reach the argument raised here --
that, while an appeal waiver does not defeat Flores-Ortega rights, per Gomez-Diaz,
what happens when a defendant also agrees to a collateral waiver that extends to the
defendant’s claim to the very attorney negligence needed to support Flores-Ortega
rights? Under that argument, raised by the government, the only recourse a movant
would have is to show that he was tricked, duped, coerced (etc.) into his guilty plea and
double-waiver. Simmons argues only that Hube gave him bad advice.
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are not ripe and thus may be renewed post-appeal. See 16A F ED. P ROC.,

L. E D . § 41:515 (Dec. 2011); see also Roberson, 2011 WL 6032962 at 3

(detailing process for facilitating a new-appeal).

     SO REPORTED AND RECOMMENDED this 5th day of

January, 2012.

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                                      1JN1TED ST[LES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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